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                         IN THE UNITED STATES DISTRICT
                      COURT FOR THE DISTRICT OF COLORADO
                             Judge Daniel D. Domenico

   Case No. 19-cv-02789-DDD-NYW

   SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
   v.

   MARK RAY,
   REVA STANCHIW,
   RONALD THROGMARTIN,
   CUSTOM CONSULTING & PRODUCT SERVICES, LLC,
   RM FARM AND LIVESTOCK, LLC,
   MR CATTLE PRODUCTION SERVICES, LLC,
   SUNSHINE ENTERPRISES,
   UNIVERSAL HERBS, LLC,
   DBC LIMITED, LLC,

         Defendants.


                        CONSENT BIFURCATED JUDGMENT


        The Securities and Exchange Commission having filed a Complaint and De-
  fendants Reva Stachniw, RM Farm & Livestock, LLC (“RM Farm”), and Sunshine
  Enterprises (collectively, the “Settling Defendants”) having entered a general appear-
  ance, consented to the Court’s jurisdiction over the Settling Defendants and the sub-
  ject matter of this action, consented to entry of this Bifurcated Judgment without
  admitting or denying the allegations of the Complaint (except as to jurisdiction)
  waived findings of fact and conclusions of law, and waived any right to appeal from
  this Bifurcated Judgment:
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                                                I

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the Set-
  tling Defendants, and their agents, servants, employees, attorneys, and all persons
  in active concert or participation with them are permanently enjoined from violating,
  directly or indirectly:

         A.     Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange
  Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5(a), (b) and (c) promulgated thereunder
  [17 C.F.R. § 240.10b-5(a), (b) and (c)], by using any means or instrumentality of in-
  terstate commerce, or of the mails, or of any facility of any national securities ex-
  change, in connection with the purchase or sale of any security:

                (1)    to employ any device, scheme, or artifice to defraud, to make any
                untrue statement of a material fact or to omit to state a material fact
                necessary in order to make the statements made, in the light of the cir-
                cumstances under which they were made, not misleading; or

                (3)    to engage in any act, practice, or course of business which oper-
                ates or would operate as a fraud or deceit upon any person,

  by providing false or misleading information or omitting to provide material infor-
  mation to actual or prospective investors concerning the performance, return, exist-
  ence, use or disposition of investor funds.

         B.     Section 17(a)(1), (2) and (3) of the Securities Act of 1933 (the “Securities
  Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any means
  or instruments of transportation or communication in interstate commerce or by use
  of the mails, directly or indirectly:

                (a)    to employ any device, scheme, or artifice to defraud;




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               (b)    to obtain money or property by means of any untrue statement of
               a material fact or any omission of a material fact necessary in order to
               make the statements made, in light of the circumstances under which
               they were made, not misleading; or

               (c)    to engage in any transaction, practice, or course of business which
               operates or would operate as a fraud or deceit upon the purchaser; by
               providing false or misleading information or omitting to provide mate-
               rial information to actual or prospective investors concerning the perfor-
               mance, return, existence, use or disposition of investor funds.

         C.    The Settling Defendants are specifically enjoined from offering any in-
  vestments purportedly backed by cattle, cattle trading or legal marijuana transac-
  tions or businesses.

                                             II

         IT IS FURTHER ORDERED that the action between the Commission and
  the Settling Defendants shall be administratively stayed until 30 days after any
  state-court-appointed receiver over the Settling Defendants has obtained approval of
  a final plan for distributing the assets of the receivership to investors or until further
  order of this Court should no such receiver be appointed. In connection with the Com-
  mission’s motion for disgorgement and/or civil penalties, the parties may take discov-
  ery for 90 days after the administrative stay has been lifted, including discovery from
  appropriate non-parties. Any such discovery shall be limited to issues relevant to the
  determination of disgorgement and/or civil penalties. The Commission shall file its
  motion to set monetary remedies within 30 days after the completion of such discov-
  ery.




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                                            III

        IT IS FURTHER ORDERED that after the stay is lifted, upon motion of the
  Commission, the Court, or a magistrate judge should the parties consent to having
  such issue determined by a magistrate judge, shall determine whether it is appropri-
  ate to order disgorgement of ill-gotten gains and/or a civil penalty pursuant to Section
  20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange
  Act [15 U.S.C. § 78u(d)(3)] against the Settling Defendants, and, if so, the amount(s)
  of the disgorgement and/or civil penalty. If disgorgement is ordered, the Settling De-
  fendants shall pay prejudgment interest thereon, calculated from June 1, 2014, based
  on the rate of interest used by the Internal Revenue Service for the underpayment of
  federal income tax as set forth in 26 U.S.C. § 6621(a)(2). In connection with the Com-
  mission’s motion for disgorgement and/or civil penalties, and at any hearing held on
  such a motion: (a) the Settling Defendants will be precluded from arguing that they
  did not violate the federal securities laws as alleged in the Complaint; (b) the Settling
  Defendants may not challenge the validity of the Consent or this Bifurcated Judg-
  ment; (c) solely for the purposes of such motion, the allegations of the Complaint shall
  be accepted as and deemed true by the Court; and (d) the Court may determine the
  issues raised in the motion on the basis of affidavits, declarations, excerpts of sworn
  depositions or investigative testimony, and documentary evidence, without regard to
  the standards for summary judgment contained in Rule 56(c) of the Federal Rules of
  Civil Procedure or Federal Rule of Evidence 802.

                                             IV

        IT IS FURTHER ORDERED that the Consent is incorporated herein with
  the same force and effect as if fully set forth herein, and that the Settling Defendant
  shall comply with all of the undertakings and agreements set forth therein.




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                                              V

        IT IS FURTHER ORDERED that, until further order of this Court, the as-
  sets of RM Farm and Sunshine Enterprises, as well as the real property, equipment,
  supplies or inventory located at 12700 E. Lone Chimney Rd., Glencoe, OK 74032 that
  are in the name of or under the control of Defendant Stachniw (collectively, the “Fro-
  zen Assets”) be, and hereby are, frozen. The freeze shall include but not be limited to
  those funds located in any bank accounts, brokerage accounts, mutual funds, hedge
  funds and any other accounts or property of RM Farm or Sunshine Enterprises. Until
  further order of this Court, RM Farm and Sunshine Enterprises, and their officers,
  agents, servants, employees, attorneys, and all persons in active concert or participa-
  tion with them, except any trustee, receiver or special fiscal agent appointed by this
  Court or a state court, hereby are prohibited and restrained from, directly and indi-
  rectly, transferring, setting off, receiving, changing, selling, pledging, assigning, liq-
  uidating or otherwise disposing of or withdrawing any of the Frozen Assets, includ-
  ing, but not limited to, cash, securities, free credit balances, real property, and/or
  property pledged or hypothecated as collateral for loans.

                                             VI

        IT IS FURTHER ORDERED that with respect to the asset freeze provided
  for in Section V, above, any bank, brokerage firm, mutual fund, hedge fund or other
  financial institution or any other person, partnership, corporation or other entity
  maintaining or having custody or control of: (a) any brokerage or depository accounts
  or other assets of RM Farm or Sunshine Enterprises; (b) accounts, securities or funds
  of any kind in the name of RM Farm or Sunshine Enterprises into which investor or
  customer funds or proceeds have been invested or deposited; (c) accounts or assets
  under the direct or indirect control of RM Farm or Sunshine Enterprises; or (d) other
  tangible or intangible assets under the direct or indirect control of RM Farm or Sun-
  shine Enterprises, who receives actual notice of this Order, shall:



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                 (i)     freeze such accounts, funds or assets;

                 (ii)    within five (5) business days of receipt of such notice, file with the
  Court and serve on counsel for the Commission and for Settling Defendants, a certi-
  fied statement setting forth, with respect to each such account, fund or other assets,
  the balance in the account or the description of the assets as of the close of business
  on the date of the receipt of the notice;

                 (iii)   promptly cooperate with the Commission to determine whether
  and to what extent any accounts, funds or other assets are actually assets or proceeds
  of assets of any of the Settling Defendants.

                                               VII

           As set forth in detail below, the following proceedings, excluding the instant
  proceeding and all police or regulatory actions and actions of the Commission related
  to the above-captioned enforcement action, are stayed until further Order of this
  Court:

           All civil legal proceedings of any nature, including, but not limited to, bank-
  ruptcy proceedings, arbitration proceedings, foreclosure actions, default proceedings,
  or other actions of any nature involving: (a) the Settling Defendants, whether as
  plaintiff, defendant, third-party plaintiff, third-party defendant, or otherwise or (b)
  any of the Frozen Assets, wherever located (such proceedings are hereinafter referred
  to as “Ancillary Proceedings”).

                                               VIII

  The parties to any and all Ancillary Proceedings are enjoined from commencing or
  continuing any such legal proceeding, or from taking any action, in connection with
  any such proceeding, including, but not limited to, the issuance or employment of
  process.



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                                             IX

  All Ancillary Proceedings are stayed in their entirety, and all Courts having any ju-
  risdiction thereof are enjoined from taking or permitting any action until further Or-
  der of this Court. Further, as to a cause of action accrued or accruing in favor of one
  or more of the Settling Defendants against a third person or party, any applicable
  statute of limitation is tolled during the period in which this injunction against com-
  mencement of legal proceedings is in effect as to that cause of action.

                                             X

        IT IS FURTHER ORDERED that this Order does not preclude the Commis-
  sion from seeking disgorgement and prejudgment interest and the imposition of civil
  penalties, a permanent injunction, or any other relief, in this action.

                                             XI

        IT IS FURTHER ORDERED that nothing in this order or the Consent shall
  be construed as a waiver of any Fifth Amendment right against self-incrimination by
  Ms. Stachniw or as compelling her to waive such rights in his dealings with the Re-
  ceiver; provided however, that: (1) as described in Paragraph III above, Ms. Stachniw
  shall not be permitted to contest the allegations of the Complaint in connection with
  any motion by the Commission for disgorgement or a civil penalty; (2) as described in
  Paragraph 11 of the Consent, Ms. Stachniw shall not be permitted to contest that any
  debt for disgorgement, prejudgement interest or a civil penalty entered in this action
  is a debt for violation of the securities laws as set forth in 11 U.S.C. §523(a)(19); and
  (3) Ms. Stachniw shall comply with the terms of 17 C.F.R. § 202.5(e) in the manner
  described in Paragraph 11 of the Consent. Further, nothing in this order shall pro-
  hibit Ms. Stachniw from objecting to the court regarding any action proposed or taken
  by the Receiver.




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                                           XII

        IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this
  matter for the purposes of enforcing the terms of this Order.



        Dated: October 18, 2019.         BY THE COURT:



                                         _______________________
                                         Daniel D. Domenico
                                         United States District Judge




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